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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
 Jenny Brown, individually and on behalf of all others                  CASE NUMBER
 similarly situated                                                                     CV 13-1170 DMG (Ex)

                                                         Plaintiff(s)
                                 v.                                             ORDER ON APPLICATION
 Credit Management, LP                                                  OF NON-RESIDENT ATTORNEY TO APPEAR
                                                                           IN A SPECIFIC CASE PRO HACE VICE
                                                       Defendant(s).

The Court, having reviewed proof of payment of the applicable fee and accompanying Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Freytag, Daniel                                                         of
Applicant=s Name (Last Name, First Name & Middle Initial)
                                                                               Meyer Wilson, Co., LPA
(614) 224-6000                               (614) 224-6066                    1320 Dublin Road, Suite 100
Telephone Number                      Fax Number                               Columbus, OH 43215
          dfreytag@meyerwilson.com
                           E-Mail Address                                    Firm Name & Address
for permission to appear and participate in this case on behalf of
Jenny Brown



Name(s) of Party(ies) Represented                                x Plaintiff        G Defendant    G Other:
and designating as Local Counsel
     Parisi, David                                                      of Parisi & Havens LLP
Designee’s Name (Last Name, First Name & Middle Initial)                       15233 Valleyheart Drive
162248                                (818) 990-1299                           Sherman Oaks, California 91403
Designee’s Cal. Bar Number            Telephone Number
                                      (818) 501-7852
                                      Fax Number                             Firm Name & Address
                                                                                    dcparisi@parisihavens.com
                                                                                            E-Mail Address
hereby ORDERS the Application be:
G GRANTED.
X DENIED. Fee shall be returned by the Clerk for failure to submit a current certificate of good standing.
G
G DENIED. For failure to pay the required fee.
Dated January 27, 2016
                                                                             Dolly M. Gee, U.S. District Judge
GB64 ORDER (06/13)   (ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE    Page 1 of 1
